Case 9:18-cr-80160-WPD Document 242 Entered on FLSD Docket 11/01/2022 Page 1 of 4




                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA

                    CASE NO. 18-cr-80160-DIMITROULEAS


  UNITED STATES OF AMERICA

  v.

  CLAUDIA PATRICIA DIAZ GUILLEN
  ADRIAN VELAZQUEZ FIGUEROA

                 Defendant.
  _____________________________________/

          JOINT MOTION TO CONTINUE JOINT TRIAL UNTIL
                       NOVEMBER 28, 2022


        CLAUDIA DIAZ GUILLEN and ADRIAN VELAZQUEZ FIGUEROA and

  the UNITED STATES OF AMERICA, file this Joint Motion to Continue the Joint

  Trial Until November 28, 2022.

                                   BACKGROUND

        On or about October 7, 2022, this Honorable Court granted the Government’s

  Motion to Continue trial and set Mrs. Diaz Guillen’s trial for November 7, 2022.

  Dkt. No. 178.

        On October 24, 2022, this Honorable Court issued a Notice of Trial for Mr.

  Velazquez Figueroa with a trial date of November 21, 2022. Dkt. No. 218.
Case 9:18-cr-80160-WPD Document 242 Entered on FLSD Docket 11/01/2022 Page 2 of 4




            On October 25, 2022, the government filed a Motion to Advance the Trial

  requesting that the Court advance the trial of Mr. Velazquez Figueroa to the

  November 7th date or that the Court continue the trial of Mrs. Diaz Guillen until

  November 21, 2022, to ensure that the Defendants are tried jointly. Dkt. No. 225.

            On that same date, this Honorable Court issued a paperless order granting the

  government’s request provided that Mr. Velazquez Figueroa signed a consent form.

  Dkt. No. 228.

                                            ARGUMENT

            Defendants request a joint trial. Defendants request a brief continuance to

  prepare for a joint trial. A brief continuance until November 28, 2022 1 is necessary

  to permit the defense to review the 800 document Government Exhibit list with

  Defendants, to continue to review discovery for purposes of impeachment, and to

  review and translate recently identified Spanish documents to English which

  Defendants intend to use at trial.

            Moreover, Mr. Velazquez Figueroa was extradited to the United States

  recently where he was housed at Main Jail in Broward until late last week. During

  that time, it was difficult to schedule joint defense meetings at Main Jail in person

  and by video call. Since his transition to Joseph Conte, the defense has been able to


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      Defendants do not consent to a trial period beginning later than November 28, 2022.
Case 9:18-cr-80160-WPD Document 242 Entered on FLSD Docket 11/01/2022 Page 3 of 4




  meet and consult with Mr. Velazquez-Figueroa. Defendants request additional time

  to review financial documents in person with Mr. Velazquez-Figueroa and Mrs. Diaz

  Guillen.

          The government and Defendants conferred today, November 1, 2022,

  concerning this request. The Government agrees to a trial date of November 28,

  2022, because of international travel concerns with witnesses and because the week

  of November 21, 2022 is Thanksgiving week and will likely result in a 2-day trial

  week.
Case 9:18-cr-80160-WPD Document 242 Entered on FLSD Docket 11/01/2022 Page 4 of 4




         Respectfully submitted,

                /s/Marissel Descalzo                          /s/Andrew S. Feldman
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         GLEN S. LEON                              JUAN ANTONIO GONZALEZ
         CHIEF, FRAUD SECTION                      UNITED STATES ATTORNEY

  By:    /s/ Paul A. Hayden                  By:   /s/ Kurt K. Lunkenheimer
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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that the foregoing was served via/CM ECF and
  received by all counsel of record authorized to receive service.
                                        /s/Marissel Descalzo
